Case 2:10-md-02179-CJB-DPC Document 5093-1 Filed 01/06/12 Page 1 of 3




                           Exhibit A
   Case 2:10-md-02179-CJB-DPC Document 5093-1 Filed 01/06/12 Page 2 of 3




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


IN RE: OIL SPILL BY THE OIL RIG                          MDL NO. 2179
"DEEPWATER HORIZON" IN THE
GULF OF MEXICO, ON APRIL 20,                             SECTION “J” (1)
2010
                                                         JUDGE BARBIER
APPLIES TO: 11-274 c/w 11-275
                                                         MAGISTRATE SHUSHAN


       PARTIAL FINAL JUDGMENT AND SECTION 1292(b) CERTIFICATION

               On November 15, 2011, the Court issued an Order and Reasons (document

no. 4588) denying a motion for judgment on the pleadings filed by the BP Parties in Action

Nos. 11-274 and 11-275 (“Insurance Actions”). The Court now holds, with effect from the date

of this Order, that, by its terms, the Court’s Order and Reasons not only denied BP’s motion but

also granted judgment on the pleadings against the BP Parties and in favor of the Plaintiff

Insurers on the Plaintiff Insurers’ complaints. There being no just reason for delay and good

cause appearing, a partial final judgment is hereby entered, under Fed. R. Civ. P. 54(b), in favor

of the Plaintiff Insurers and against the BP Parties on the Plaintiff Insurers’ complaints in the

Insurance Actions.

               For the avoidance of doubt, this Partial Final Judgment is not entered in respect to

any other complaint, claims, or counterclaims in Action Nos. 11-274 and 11-275 or any other

action within this MDL proceeding, and the Court’s November 15 Order and Reasons decided

the purely legal issues of insurance coverage presented in the referenced Plaintiff Insurers’

complaints and did not decide the proper interpretation, factual applicability, or enforceability of

any indemnities running between BP and Transocean in the BP-Transocean Drilling Contract.

Accordingly, such issues are not resolved by this Partial Final Judgment.
   Case 2:10-md-02179-CJB-DPC Document 5093-1 Filed 01/06/12 Page 3 of 3




               Further, and in the alternative, the Court hereby amends its November 15 Order

and Reasons, with effect from the date of this order, to certify the following two holdings therein

for immediate appeal under 28 U.S.C. § 1292(b): (1) “The Court holds that the scope of

Transocean’s insurance obligation in the Drilling Contract determines the scope of additional

insurance coverage available to BP under Section II of the Policies” (Order and Reasons at 32),

and (2) “[t]he Court holds that under Section II of the Policies, BP is an additional insured only

for liabilities assumed by Transocean under the terms of the Drilling Contract” (id. at 39). The

Court is of the opinion that these holdings involve controlling questions of law as to which there

is substantial ground for difference of opinion and that an immediate appeal from the order may

materially advance the ultimate termination of this litigation.



               SO ORDERED, in New Orleans, Louisiana, on this ____ day of January, 2012.


                                                            _______________________________
                                                            Carl J. Barbier
                                                            United States District Judge
